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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

VALENTINE AKPA,

               Plaintiff,                           Case No. 1:18-cv-07512

       v.                                           Judge Charles P. Kocoras
                                                    Magistrate Judge Gabriel A. Fuentes

NORTHWESTERN MEMORIAL
HEALTHCARE, NORTHWESTERN
MEMORIAL HOSPITAL,

               Defendants.


            DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S LR 56.1(b)(3)
                    STATEMENT OF ADDITIONAL FACTS


       Defendants Northwestern Memorial Healthcare and Northwestern Memorial Hospital

respectfully move the Court to Strike Plaintiff’s Local Rule 56.1(b)(3) Statement of Additional

Facts, as discussed in detail below, for failure comply with the applicable Local Rules of this

Court. In support of this Motion, Defendants state as follows:

       1.      On October 13, 2022, the Clerk of Court entered, among other filings in this

matter, Plaintiff’s Additional Statement of Facts in opposition to Defendants’ Motion for

Summary Judgment.

       2.      Local Rule 56.1(d)(5) provides, in relevant part, that “[a] movant’s LR 56.1(a)(2)

statement of material facts must not exceed 80 numbered paragraphs. An opposing party’s LR

56.1(b)(3) statement of additional facts must not exceed 40 numbered paragraphs. A party must

seek the court’s permission before exceeding these limits.”
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       3.      Notwithstanding the Local Rule, Plaintiff has submitted a Statement of Additional

Facts that includes 136 numbered paragraphs. See Dkt. No. 304.

       4.      Furthermore, Local Rule 56.1(d)(2) and (3), in conjunction, require that asserted

facts must be supported by citations to evidentiary material, and that such evidentiary material be

included as numbered exhibits with the statement of fact. Giving Plaintiff some benefit of the

doubt, Exhibits under Tabs A and H appear to have been filed with the filing of his

Memorandum in Opposition to Defendants’ Motion for Summary Judgment on October 13,

2022. But although Plaintiff cites in his Statement of Additional Facts to Exhibits under Tabs B,

C, D, E, F, and G, no such exhibits have been attached to his fact statement or any other

document filed with his response. Dkt. Nos. 304, and 306, pp. 146-149.

       5.      In Plaintiff’s Statement of Additional Facts, other than Paragraphs 49-51, 58-59,

68-70, 77, 79-83, 86, and 132; Plaintiff’s numbered paragraphs cite to materials that were not

filed with any document filed with his Opposition to Defendants’ Motion for Summary

Judgment.

       6.      Plaintiff’s failure to comply with the Local Rules is not excused by his pro se

status. See, e.g., Cady v. Sheahan, 467 F.3d 1057, 1061 (7th Cir. 2006); Perez v. Chicago Board

of Education, Case No. 10-CV-7594, 2013 WL 12114074, *1 (N.D. Ill. Aug. 2, 2013). See also,

Dkt. No. 264 (“Notice to Pro Se Litigant Opposing Motion for Summary Judgment by

Northwestern Memorial Healthcare, Northwestern Memorial Hospital,”) and Morris v. City of

Chicago, 545 Fed. Appx. 530, 531-32 (7th Cir. 2013) (Notice required under Rule 56.2 was

“flawed,” but there was no legal effect where no prejudice to plaintiff resulted, as shown by

plaintiff’s filing of documents, including his affidavit, in opposition).




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         WHEREFORE, Defendants Northwestern Memorial Healthcare and Northwestern

Memorial Hospital respectfully request this Court to strike Plaintiff’s Additional Statement of

Facts.


                                           Respectfully submitted,

                                           NORTHWESTERN MEMORIAL HEALTHCARE
                                           AND NORTHWESTERN MEMORIAL
                                           HOSPITAL

                                           By:     s/Becky L. Kalas
                                                   Attorney for the Defendant
                                                   Becky L. Kalas
                                                   IL ARDC #: 6279983

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Dated: October 18, 2022




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                                  CERTIFICATE OF SERVICE

The undersigned, an attorney, certifies that the above DEFENDANTS’ MOTION TO STRIKE
PLAINTIFF’S LR 56.1(b)(3) STATEMENT OF ADDITIONAL FACTS was filed
electronically with the Northern District of Illinois on October 18, 2022, and is available for
viewing and downloading from the Electronic Case Filing (ECF) System.

        Service of this MOTION was accomplished electronically through the ECF System on
the following ECF registered filing users:

                         Valentine Akpa (Vandsuit2018@gmail.com)



                                                   s/Becky L. Kalas
                                                   Attorney for Defendants
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